        Case 1:10-cr-00131-LJO Document 204 Filed 04/17/13 Page 1 of 3


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 7

 8
                     IN THE UNITED STATES DISTRICT COURT
 9
                   EASTERN DISTRICT OF CALIFORNIA, FRESNO
10

11   UNITED STATES OF AMERICA,           ) Case No.: 1:10-CR-00131 AWI
                                         )
12             Plaintiff,                )
                                         )
13       vs.                             ) STIPULATION AND ORDER TO
                                         ) CONTINUE CHANGE OF PLEA
14                                       )
                                         )
15                                       )
     JOSEPH NOLAN,                       ) Date: April 22, 2013
16                                       )
                                         ) Time: 10:00 a.m.
17             Defendant.                ) Hon. Anthony W. Ishii
                                         )
18

19       Defendant, JOSEPH NOLAN, by and through his attorney of
20   record, Anthony P. Capozzi and the United States Attorney by
21   and through Karen A. Escobar, hereby stipulate as follows:
22       1. By previous order, this matter was set for change of
23   plea on April 22, 2013, at 10:00 a.m.
24       2. By this stipulation, defendant now moves to continue
25   the change of plea until April 29, 2013, at 10:00 a.m. and to
26   exclude time between April 22, 2013, and April 29, 2013, under
27   18 U.S.C.§ 3161(h)(7)(A), B(iv). Plaintiff does not oppose
28   this request.
                                          - 1 -
               Stipulation and [Proposed] Order to Continue Change of Plea
                               CASE NO.: 1:10-CR-00131 AWI
           Case 1:10-cr-00131-LJO Document 204 Filed 04/17/13 Page 2 of 3


 1         3. The parties agree and stipulate, and request that the

 2   Court find the following:

 3               a. Due to an unforeseen event Defendant is

 4         unavailable on Monday, April 22, 2013.

 5               b. The government does not object to the continuance.

 6               c. Based on the above-stated findings, the ends of

 7         justice served by continuing the case as requested

 8         outweigh the interest of the public and the defendant in a

 9         trial within the original date prescribed by the Speedy

10         Trial Act.

11               d. For the purpose of computing time under the Speedy

12         Trial Act, 18 U.S.C. § 3161, et seq., within which trial

13         must commence, the time period of April 22, 2013, to April

14         29, 2013, inclusive, is deemed excludable pursuant to 18

15         U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a

16         continuance granted by the Court at defendant’s request on

17         the basis of the Court's finding that the ends of justice

18         served by taking such action outweigh the best interest of

19         the public and the defendant in a speedy trial.

20         4. Nothing in this stipulation and order shall preclude a

21   finding that other provisions of the Speedy Trial Act dictate

22   that additional time periods are excludable from the period

23   within which a trial must commence.

24   ///

25   ///

26   ///

27   ///

28   ///
                                            - 2 -
                 Stipulation and [Proposed] Order to Continue Change of Plea
                                 CASE NO.: 1:10-CR-00131 AWI
                           Case 1:10-cr-00131-LJO Document 204 Filed 04/17/13 Page 3 of 3


 1                                                             Respectfully submitted,

 2   DATED: April 15, 2013                                     /s/Karen A. Escobar___
                                                               KAREN A. ESCOBAR
 3                                                             Attorney for United States
 4

 5

 6   DATED: April 15, 2013                                     /s/Anthony P. Capozzi
 7                                                             ANTHONY P. CAPOZZI
                                                               Attorney for Defendant
 8                                                             JOSEPH NOLAN
 9

10
                                                           ORDER
11

12
     For reasons set forth above, the continuance requested by the
13
     parties is granted for good cause and time is excluded under
14
     the Speedy Trial Act from April 22, 2013, to, and including,
15
     April 29, 2013, based upon the Court’s finding that the ends
16
     of justice outweigh the public’s and defendant’s interest in
17
     a speedy trial. 18 U.S.C. §3161(h)(7)(A).
18
                           IT IS ORDERED that the Change of Plea currently scheduled
19
     for April 22, 2013, at 10:00 a.m. is continued to April 29,
20
     2013, at 10:00 a.m.
21

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23
     IT IS SO ORDERED.
24
     Dated: April 16, 2013
25                                                      SENIOR DISTRICT JUDGE
     DEAC_Signature-END:




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     0m8i788
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28
                                                            - 3 -
                                 Stipulation and [Proposed] Order to Continue Change of Plea
                                                 CASE NO.: 1:10-CR-00131 AWI
